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STEPHEN R. HARRIS, ESQ.

Nevada Bar No. 001463

HARRIS LAW PRACTICE LLC

6151 Lakeside Drive, Suite 2100

Reno, NV 89511

Telephone: (775) 786-7600

E-Mail: steve@harrislawreno.com

Proposed Attorneys for Jointly Administered Debtors

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

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IN RE: Case No. 21-14978-abl
(Chapter 11)

SILVER STATE BROADCASTING, LLC
Jointly Administered with:

[.] AFFECTS THIS DEBTOR.

 

21-14979-abl Golden State Broadcasting, LLC

 

 

 

[-] AFFECTS GOLDEN STATE 21-14980-abl Major Market Radio LLC

 

 

BROADCASTING, LLC
EX PARTE APPLICATION FOR ORDER

AUTHORIZING JOINTLY ADMINISTERED

DEBTORS TO EMPLOY BANKRUPTCY

ATTORNEYS UNDER A GENERAL

LX] AFFECTS ALL DEBTORS. RETAINER

[HARRIS LAW PRACTICE LLC]

[-] AFFECTS MAJOR MARKET RADIO LLC

Debtors.
Hearing Date: n/a
Hearing Time: n/a

COMES NOW, SILVER STATE BROADCASTING, LLC, GOLDEN STATE
BROADCASTING, LLC and MAJOR MARKET RADIO LLC, by and through their proposed
attorneys, STEPHEN R. HARRIS, ESQ., of HARRIS LAW PRACTICE LLC, and hereby file
their EX PARTE APPLICATION FOR ORDER AUTHORIZING JOINTLY ADMINISTERED
DEBTORS TO EMPLOY BANKRUPTCY ATTORNEYS UNDER A GENERAL RETAINER
[HARRIS LAW PRACTICE LLC], to act as their general bankruptcy counsel, and represent and

state as follows:

1. Debtors SILVER STATE BROADCASTING, LLC (“Silver State”), GOLDEN
STATE BROADCASTING, LLC (“Golden State”) and MAJOR MARKET RADIO LLC (“Major

Market”), each filed voluntary Chapter 11 Petitions on October 19, 2021.

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2. On November 5, 2021, Debtors each filed a MOTION FOR JOINT
ADMINISTRATION OF CHAPTER 11 BANKRUPT ESTATES PURSUANT TO F.R.B.P.
1015(b) (“Motion”), seeking to jointly administer these Chapter 11 cases under Lead Case Silver
State Broadcasting, LLC. The Motion was approved by the Court on November 16, 2021.

3. No trustee has been appointed and Debtors act as Debtors-in-Possession herein.
Debtors are not sufficiently familiar with the rights and duties of debtors-in-possession as to be
able to plan and conduct proceedings, and pursue plan confirmation, without the aid of competent
counsel. Specifically, the retention of attorneys is necessary in connection with the following

matters:

a) the examination and preparation of records and reports as required by the
Bankruptcy Code, Federal Rules of Bankruptcy Procedure and Local
Bankruptcy Rules;

b) the preparations of applications and proposed orders to be submitted to the
Court;

c) the identification and prosecution of claims and causes of action assertable
by Applicant on behalf of the estate herein;

d) the examination of proofs of claim anticipated to be filed herein and the
possible prosecution of objections to certain of such claims;

e) advising the Debtors and preparing documents in connection with the
contemplated ongoing operation of the Debtors’ businesses, if any;

f) assisting and advising the Debtors in performing other official functions as
set forth in Section 521, et seq., of the Bankruptcy Code; and

g) advising and preparing a Plan of Reorganization, and related documents,

and confirmation of said Plan, as provided in Section 1189, et_seq., of the
Bankruptcy Code.

3. The Debtors have conferred with, and now desire to retain and employ, STEPHEN R.
HARRIS, ESQ., and his law firm of HARRIS LAW PRACTICE LLC, as their bankruptcy
attorneys under a general retainer to perform all the above-described legal services necessary and
desirable in the administration and reorganization of their estates, pursuant to 11 U.S.C. §327(a).

4. The Debtors have selected as their attorneys STEPHEN R. HARRIS, ESQ., and the
law firm of HARRIS LAW PRACTICE LLC, because of the extensive experience and knowledge
of the firm's members in the field of bankruptcy, reorganization, and debtor’s and creditors' rights.
Accordingly, the Debtors believe that these attorneys are well qualified to represent them in these

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Chapter 11 reorganization cases.

5. It is necessary and essential that the Debtors employ the attorneys under a general
retainer based on time and standard billable charges. An advance retainer of $4,000.00 for Silver
State, $4,000.00 for Golden State and $4,000.00 for Major Market, for a total of $12,000.00 was
paid personally by Edward Stolz, the Co-Manager of the Debtors, with an additional $16,000.00
to be paid on behalf of each Debtor entity for a total of $48,000.00 owing, per a Letter Agreement
by and between Stephen R. Harris, Esq. and Edward Stolz. The law firm shall be paid for its normal
actual time charges and disbursements, with all fees and costs, subject to approval by the Court.
Debtors have agreed that HARRIS LAW PRACTICE LLC be compensated for services at the
following rates: Stephen R. Harris’ current rate is $550.00 per hour, and paraprofessional services
at $150.00 to $300.00 per hour, depending on the expertise and skill of the paraprofessional. The
compensation is authorized by 11 U.S.C. §§ 328(a) and 331.

6. These hourly rates are subject to periodic adjustments to reflect economic and other
conditions, and on occasion, to reflect each attorney's or paraprofessional's increased experience
and expertise in the area of bankruptcy law. This basis of compensation is expressly authorized
pursuant to Sections 328 (a), 330 and 331 of the Bankruptcy Code.

7. STEPHEN R. HARRIS, ESQ., and his law firm of HARRIS LAW PRACTICE LLC
has indicated its willingness to act on the Debtors’ behalf and to be compensated in accordance
with the terms and conditions set forth in Paragraph 5 herein, and as set forth in the parties’ retainer
agreements attached hereto and incorporated herein as Exhibit A for Silver State, Exhibit B for
Golden State and Exhibit C for Major Market.

8. To the best of Applicant's knowledge, STEPHEN R. HARRIS, ESQ., of the firm of
HARRIS LAW PRACTICE LLC, does not have any connection with the Debtors, their creditors
or any other party in interest, or their respective attorneys or accountants, the United States Trustee,
or any person in the office of the United States Trustee. STEPHEN R. HARRIS, ESQ., and
HARRIS LAW PRACTICE LLC represent no interest adverse to the estates.

WHEREFORE, Debtors request the entry of an order authorizing them to employ and
retain STEPHEN R. HARRIS, ESQ., and the law firm of HARRIS LAW PRACTICE LLC,

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pursuant to and under a general retainer on the terms and conditions recited above, to represent
them in these jointly administered Chapter 11 case as their general bankruptcy counsel pursuant
to 11 U.S.C. §327(a), and for such other and further relief as the Court deems just under the
circumstances.
DATED this 19" day of November 2021.
HARRIS LAW PRACTICE LLC
/s/ Stephen R. Harris

 

STEPHEN R. HARRIS, ESQ.
Proposed Attorneys for Jointly
Administered Debtors

 
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EXHIBIT A

 
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HARRIS LAW PRACTICE LLC
ATTORNEY AND COUNSELOR AT LAW

STEPHEN R. HARRIS, ESQ.
6151 LAKESIDE DRIVE, SUITE 2100
RENO, NEVADA 89511
(775) 786-7600
steve@harrislawreno.com

October 13, 2021

Via Email - edward.stolz@comcast.net
Silver State Broadcasting, LLC
Attention: Edward Stolz, Manager
6767 West Tropicana Ave., Suite 229
Las Vegas, NV 89103

Re:

Silver State Broadcasting, LLC, a Nevada limited liability company —
Chapter 11 reorganization proceeding

Dear Mr. Stolz:

You have requested that STEPHEN R. HARRIS, ESQ., of HARRIS LAW PRACTICE LLC,
represent SILVER STATE BROADCASTING, LLC, a Nevada limited liability company, in a Chapter
11 reorganization proceeding to be filed in the United States Bankruptcy Court for the District of
Nevada (Las Vegas, Nevada). Pursuant to your request, this letter is to set forth the nature of our
compensation, the scope of our legal representation, to describe to you our law firm's billing practices,

and those things which will need to be done in the Chapter 11 context.

Specifically, the legal services already rendered and to be rendered by this law firm are as

follows:

l.

Additionally, we request that by executing the enclosed copy of this letter, you empower our
law firm to take all steps in your case deemed by us to be advisable, including any steps needed to
effect any compromise which may be in the best interests of the estate and to institute such legal

With respect to the voluntary petition which I will prepare and will be filing, a
certified copy should be recorded in the County of Clark, State of Nevada.
Additionally, I would suggest that we deliver a copy of the voluntary petition
to any title company which is currently scheduled to conduct any pending
foreclosure action(s), if any.

We must file an alphabetical list of creditors, which includes unsecured as well
as secured creditors. We will also file an alphabetical list of equity security
holders (shareholders).

From the list of creditors, we must file what is commonly referred to as a
mailing matrix or mailing list, which is a mailing label list of creditors who are
to receive notice of the bankruptcy petition filing and who will receive from the
Bankruptcy Court a notice of hearing of a first meeting of creditors held in
accordance with 11 U.S.C. §341.

Finally, we will prepare and file an alphabetical list of the 20 largest unsecured
creditors, excluding insiders, which the Bankruptcy Court will use to solicit
participants for a committee of unsecured creditors. You will pay for attorneys’
fees and costs incurred by the duly appointed attorney for the Unsecured
Creditors’ Committee, after notice and a hearing on a request to be paid.
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Silver State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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proceedings as may be in your best interests.

In consideration of our rendering these legal services, SILVER STATE BROADCASTING,
LLC, shall tender to this firm an advance retainer of Twenty Thousand Dollars ($20,000.00), payable
$4,000.00 prior to the commencement of the case, and the additional $16,000.00 paid per a Letter
Agreement by and between STEVEN R. HARRIS, ESQ. and EDWARD STOLTZ personally. For
your information, legal services rendered on behalf of SILVER STATE BROADCASTING, LLC
(“Debtor”) will be billed and charged against the retainer at an hourly rate of $550.00 per hour for
Stephen R. Harris, Esq., and $150.00 to $300.00 per hour for paraprofessional services, depending on
each paraprofessional's experience, plus reimbursement of reasonable and necessary costs and out-of-
pocket expenses, such as photocopy costs, court filing fees, process server fees, conference call
telephone charges and mail charges. Specifically, I bill and charge my paralegal Norma Guariglia at
an hourly rate of $300.00 per hour, based on her 27-plus years of experience in the field of bankruptcy
law. SILVER STATE BROADCASTING, LLC has agreed to compensate STEPHEN R. HARRIS,
ESQ., and members of his law firm HARRIS LAW PRACTICE LLC, on an hourly basis at the rates
customarily charged by attorneys and legal assistants who render professional services on behalf of
HARRIS LAW PRACTICE LLC.

You have deposited with my law firm’s trust account the sum of Four Thousand Dollars
($4,000.00) as partial payment of the advance retainer for said legal services and costs. This retainer
shall be held in my law firm trust account and applied towards payment of my law firm’s legal fees
and costs upon filing of the voluntary petition for Chapter 11 relief for SILVER STATE
BROADCASTING, LLC. Any surplus will be held in my client trust account until approval of interim
and/or final fee application by the Bankruptcy Court. In the interim period, HARRIS LAW
PRACTICE LLC will provide monthly invoices to SILVER STATE BROADCASTING, LLC, which
invoices shall be due and payable by SILVER STATE BROADCASTING, LLC within 30 days,
although such payments shall also be deposited and held in our law firm trust account and only
disbursed after approval by the Bankruptcy Court of our interim and/or final fee and cost applications.
| estimate that the total legal fees and costs incurred by the firm in this bankruptcy reorganization case
to be $50,000.00 to $100,000.00, or more, depending on the complexity of the legal issues and the
problems encountered at the plan confirmation hearing, which legal fees and costs are to be billed to
SILVER STATE BROADCASTING, LLC.

Application for approval of fees and costs will need to be made to the Bankruptcy Court
periodically, and we will also need to disclose our fee agreement to the Bankruptcy Court by the filing
of a Disclosure Statement of Compensation under Federal Rule of Bankruptcy Procedure 2016(b).

While providing legal services on behalf of you, I am sure you realize that we must rely on
your representations and statements as to facts and circumstances within your knowledge and the
correctness of any and all documents delivered to the firm by you or your agents. Also, please know
that we will utilize our best efforts in representing you.

You, or HARRIS LAW PRACTICE LLC may, of course, terminate the employment of the law
firm at any time. Upon such termination, the firm will charge against and pay from the retainer its
unpaid fees and expenses and refund the remainder of the retainer, if any, to you. Additionally, we
reserve the right to withdraw from representation of a client where our fees and expenses are not paid
in the normal course. We generally do not prepare a periodic statement of account, only monthly
accounts. If you ever have any questions whatsoever regarding any aspect of your monthly bill, please
call.

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Silver State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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Our charges are not contingent upon the successful conclusion, but are charged without regard
to the outcome. Accordingly, we will look solely to you for payment, and our charges will not be
dependent or contingent upon payment by any other party.

Within fourteen (14) days following the filing of the petition, the Debtor is required to file with
the Court, a Statement of Financial Affairs and Schedule of Assets and Liabilities. (See discussion
below.) Also, it will be necessary to open new bank accounts reflecting that the maker of the checks
is a debtor-in-possession. Alternatively, it is permissible to keep your existing account(s) and stamp
all unused checks with a debtor-in-possession stamp, on condition that we provide the U.S. Trustee
with a bank statement that shows an ending balance as of the date of the filing of the bankruptcy
petition and a copy of the bank signature card indicating "Debtor-in-Possession." There should be a
bank employee in the new accounts department who is familiar with this type of arrangement and
should be able to help you.

In addition to the Schedules and Statements, there is a monthly operating report required to be
filed with the Bankruptcy Court which will generally reflect the receipts and disbursements of the
debtor-in-possession. It is my suggestion that the first monthly operating report be filed no later than
the 20th day of the month. I would also request, rather than waiting until the 20th day of each month,
that we make an attempt to submit the monthly operating reports no later than the 10th day of each
month. In connection with this monthly accounting information, let me reiterate that it is extremely
important that proper accounting controls and proper accounting records be maintained and prepared.
Lack of proper accounting for receipts received during the pendency of the bankruptcy would be a
prime reason for a creditor to request the appointment of a trustee and removal of the debtor-in-
possession. | am sure you can understand that this is not something with which we need to contend.

One of the items necessary to be filed with the Bankruptcy Court in the early days is a copy of
the insurance policy which covers the property(s) in question. Additionally, it is extremely important
during the pendency of the bankruptcy that all taxes be maintained current, i.e., payroll taxes and any
income taxes owed to the Internal Revenue Service. This includes any sales tax payments required by
the State of Nevada. It is not critical that the property taxes be maintained current, although to the
extent that they are not paid they become a priority lien against the property.

THE SCHEDULES

There are certain documents to be filed within fourteen (14) days of the filing of the
bankruptcy. These are generally known as "the schedules" and consist of the Schedule of Assets and
Liabilities and Statement of Financial Affairs. The Schedules must be filed with the Bankruptcy Court
fourteen (14) days after the petition is filed. Failure to file schedules by the deadline will result in the
case being dismissed by the Court without notice.

THE MONTHLY REPORT AND HIRING OF PROFESSIONALS

[have enclosed for you a copy of the monthly report form which is required by the Bankruptcy
Court. If you believe after inspection of the monthly report form that you will be able to generate it
yourself, please let me know. If you believe that it will be necessary to hire an accountant to take care
of this for you, please let me know so I can apply to the Court for authorization to hire such an
accountant. The application for authorization to hire and pay an accountant is similar to that needed
to retain an attorney. Please do not hire or pay an accountant for either pre- or post-petition work until
I obtain Court authorization. In addition, as we have discussed, do not pay any estate funds to this firm
or any other law firm after the bankruptcy filing without prior Court authorization, unless payments
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Silver State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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are made to that professional's trust account and disbursed to the general account only after receiving
Court approval to make said transfer(s).

THE TWO ACCOUNTS

You will be required to open two (2) separate bank accounts, assuming you are engaged in a
business that has employees:

(a) a general account in which all cash receipts shall be deposited; withdrawals from
this account shall require the signature of an authorized officer; and

(b) the payroll account, into which funds will be transferred from the general account;
withdrawals from this account shall require the signature of an authorized officer.

It will be necessary to deposit into the payroll account all withholding, social security,
unemployment, excise, sales, use or other taxes collected or received, withheld, for or on behalf of the
United States, any State, or any political subdivision thereof.

Unfortunately, the requirement of two accounts is one which is seldom waived. Since it may
be necessary to have some flexibility, and since we may need a favor from the Court in the future, I
would rather not “go back to the well” too often on a matter which is not absolutely critical to the
administration of the estate. [If you are not engaged in a business that has employees, then maintaining
one (1) “debtor-in-possession” general bank account will be satisfactory with the Court.]

UTILITIES

Your utility companies, upon receiving notification of the Chapter 11 case, will “close out”
your accounts. If at all possible, the utilities should be current when the case is filed. The utility
companies are not able to shut off service to you for non-payment of pre-petition accounts. However,
they are able to demand a deposit for continuation of service to you if you are delinquent upon filing.

Pursuant to 11 U.S.C. §366(b), if you are not able to reach an agreement with the utilities within
twenty (20) days after the date of filing, they may attempt to shut off service unless you pay the
unreasonably high deposit which they may demand.

Pursuant to that same statute, however, we can petition the Court for a reduction in the size of
the deposit which will be demanded by the utility service. It has been my experience that I can
sometimes negotiate a reduced deposit or deposit terms which can be lived with.

ORDINARY COURSE OF BUSINESS TRANSACTIONS

A debtor-in-possession is no longer required to obtain authorization from the Court to continue
operating the business. It is presumed that the ordinary Chapter 11 case will involve a debtor-in-
possession who is operating a business which existed pre-petition. However, for any new, major or
serious business transactions, which are even arguably outside the ordinary course of business, it will
be necessary to obtain prior authorization of the Bankruptcy Court. If you have any questions as to
whether a particular transaction or change in the way you do business may be outside the ordinary
course of business, please give me a call and we will discuss the matter. If, for instance, an entity
should propose to buy the entire business, that matter would be subject to the approval of the
Bankruptcy Court after appropriate notice and hearing; obtaining or paying back loans would in many
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Silver State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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cases also require Court approval.
CASH COLLATERAL

Most deeds of trust have a provision for an assignment of rents. Rental income may, therefore,
be cash collateral. Do not use any such income without Court approval. You must, immediately upon
filing the Voluntary Petition, obtain the written consent of secured creditors, or alternatively,
authorization from the United States Bankruptcy Court, pursuant to 11 U.S.C. §363(c)(2), to use or
sell cash collateral interests in the accounts receivable, cash inventory, general intangibles and/or
equipment now owned by SILVER STATE BROADCASTING, LLC. Use of cash collateral, whether
it is income from accounts receivable or rental income, without Court approval MAY RESULT IN
PERSONAL LIABILITY OF THE RESPONSIBLE PARTY FOR THE DEBTOR-IN-POSSESSION
FOR THE FUNDS USED.

LEASEHOLD INTERESTS IN REAL PROPERTY

Most leasehold interests in real property terminate within one hundred twenty (120) days of
filing the petition unless we take affirmative action. Make sure we discuss any real property interests
of the estate long before the time has elapsed.

OTHER

Other matters we will need to discuss are those connected with the payment of unsecured pre-
petition debts (the general rule is, don't pay them). As to any unsecured pre-petition debts which you
believe may cause a problem, please call me and we will discuss them. Payments of those amounts
will normally require Court authorization. I will see if] can obtain such authorization. As to payment
of post-petition amounts, these amounts should be paid promptly and in the ordinary course of business.
Please contact me immediately if there is any question in your mind as to whether a particular payable
is partially pre- and partially post-petition, and if so, how it should be dealt with. Further, do not pay
any dividends/distributions to shareholders/members until all creditors’ claims are paid in full
according to a confirmed Plan of Reorganization.

You will need to comply with the normal paperwork and reporting requirements of State and
Federal taxing authorities. For instance, W-2 forms for all employees must be completed and
distributed in a timely fashion. The filing of a petition in bankruptcy does not obviate requirements of
this nature. Other issues involving taxes may need to be discussed after complete information
regarding your particular situation is gathered and analyzed, and more than likely, a tax accountant
professional will be hired to perform the necessary work in filing tax returns.

Another matter which we will discuss at greater length after I have reviewed the Statement of
Affairs, which you have filled out, is the issue of preferences. It is at least possible that certain of your
creditors who were paid within ninety (90) days of the bankruptcy petition may be forced to disgorge
those amounts back to the estate. However, this will require further discussion and analysis.

Another matter which will require discussion is the state of your insurance policies. It is
necessary to maintain insurance on the property of the estate, so that no diminution of estate property
may occur as a result of a fire or similar event. We will discuss this matter further. I will continue to
keep you informed of the progress of the case. We will need to stay in fairly close communication. I
hope this is a quickly concluded, successful reorganization.

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Silver State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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TRUSTEE'S FEES

Since 1988, there has been a quarterly fee charged to Chapter 11 debtors, the purpose of which
is to help defray the cost of operating the Bankruptcy Court system. The fee is based upon the quarterly
disbursements of the Debtor in the following categories:

 

TOTAL QUARTERLY

DISBURSEMENTS THE FEE, PER QUARTER, Is:

 

 

 

 

 

 

 

$0 to $62,624 $250

$62,625 to $999,999 0.4% of quarterly disbursements
$1,000,000 to $31,249,937 0.8% of quarterly disbursements
$31,249,938 or more $250,000

 

The fee is payable on the last day of the calendar month following the calendar quarter for
which the fee is owed. The requirement for a Debtor-in-Possession to pay the quarterly fee terminates
upon the entry of an Order closing your Chapter I1 case or dismissing the case. Failure to pay the
quarterly Trustee's fee within a timely fashion may result in the U.S. Trustee filing a MOTION TO
DISMISS OR CONVERT TO CHAPTER 7 the Chapter |! proceeding. It will be your responsibility
to comply with the quarterly reporting requirements imposed by the Office of the U.S. Trustee.

By signing below, you also acknowledge that you understand that it is possible for SILVER
STATE BROADCASTING, LLC to file its Chapter 11 case in southern Nevada because it owns radio
stations in Las Vegas, Nevada.

Lastly, please be advised that HARRIS LAW PRACTICE LLC represents the legal interests
of SILVER STATE BROADCASTING, LLC and the bankrupt estate in this Chapter !1 proceeding,
and not the legal interests of any individual members or other insiders of the Debtor.

[f you find that the foregoing constitutes a correct and complete statement of the agreement
under which you have retained HARRIS LAW PRACTICE LLC, please indicate your agreement in
the space provided below. Feel free to contact me regarding any questions you might have. Thank
you.

 

STEPHEN R. HARRIS, ESQ.

CONTENTS OF THIS RETAINER LETTER
READ, ACCEPTED AND ACKNOWLEDGED
BY:

Dated this _/ 614 day of October, 2021.

 

EDWARD STOLZ. Manager of
SILVER STATE BROADCASTING, LLC,
a Nevada limited liability compa

 

 
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EXHIBIT B

 
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HARRIS LAW PRACTICE LLC
ATTORNEY AND COUNSELOR AT LAW

STEPHEN R. HARRIS, ESQ.
6151 LAKESIDE DRIVE, SUITE 2100
RENO, NEVADA 89511
(775) 786-7600
steve@harrislawreno.com

October 13, 2021

Via Email - edward. stolze@comcast.net
Golden State Broadcasting, LLC
Attention: Edward Stolz, Manager
6767 West Tropicana Ave., Suite 229
Las Vegas, NV 89103

Re: Golden State Broadcasting, LLC, a Nevada limited liability company —
Chapter 11 reorganization proceeding

Dear Mr. Stolz:

You have requested that STEPHEN R. HARRIS, ESQ., of HARRIS LAW PRACTICE LLC,
represent GOLDEN STATE BROADCASTING, LLC, a Nevada limited liability company, in a
Chapter 11 reorganization proceeding to be filed in the United States Bankruptcy Court for the District
of Nevada (Las Vegas, Nevada). Pursuant to your request, this letter is to set forth the nature of our
compensation, the scope of our legal representation, to describe to you our law firm's billing practices,
and those things which will need to be done in the Chapter 11 context.

Specifically, the legal services already rendered and to be rendered by this law firm are as
follows:

1. With respect to the voluntary petition which I will prepare and will be filing, a
certified copy should be recorded in the County of Clark, State of Nevada.
Additionally, I would suggest that we deliver a copy of the voluntary petition
to any title company which is currently scheduled to conduct any pending
foreclosure action(s), if any.

2. We must file an alphabetical list of creditors, which includes unsecured as well
as secured creditors. We will also file an alphabetical list of equity security
holders (shareholders).

3. From the list of creditors, we must file what is commonly referred to as a
mailing matrix or mailing list, which is a mailing label list of creditors who are
to receive notice of the bankruptcy petition filing and who will receive from the
Bankruptcy Court a notice of hearing of a first meeting of creditors held in
accordance with 11 U.S.C. §341.

4. Finally, we will prepare and file an alphabetical list of the 20 largest unsecured
creditors, excluding insiders, which the Bankruptcy Court will use to solicit
participants for a committee of unsecured creditors. You will pay for attorneys’
fees and costs incurred by the duly appointed attorney for the Unsecured
Creditors’ Committee, after notice and a hearing on a request to be paid.

Additionally, we request that by executing the enclosed copy of this letter, you empower our
law firm to take all steps in your case deemed by us to be advisable, including any steps needed to
effect any compromise which may be in the best interests of the estate and to institute such legal
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Golden State Broadcasting, LLC
Attention: Edward Stolz
October 13, 2021

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proceedings as may be in your best interests.

In consideration of our rendering these legal services, GOLDEN STATE BROADCASTING,
LLC, shall tender to this firm an advance retainer of Twenty Thousand Dollars ($20,000.00), payable
$4,000.00 prior to the commencement of the case, and the additional $16,000.00 paid per a Letter
Agreement by and between STEVEN R. HARRIS, ESQ. and EDWARD STOLTZ personally. For
your information, legal services rendered on behalf of GOLDEN STATE BROADCASTING, LLC
(“Debtor”) will be billed and charged against the retainer at an hourly rate of $550.00 per hour for
Stephen R. Harris, Esq., and $150.00 to $300.00 per hour for paraprofessional services, depending on
each paraprofessional's experience, plus reimbursement of reasonable and necessary costs and out-of-
pocket expenses, such as photocopy costs, court filing fees, process server fees, conference call
telephone charges and mail charges. Specifically, I bill and charge my paralegal Norma Guariglia at
an hourly rate of $300.00 per hour, based on her 27-plus years of experience in the field of bankruptcy
law. GOLDEN STATE BROADCASTING, LLC has agreed to compensate STEPHEN R. HARRIS,
ESQ., and members of his law firm HARRIS LAW PRACTICE LLC, on an hourly basis at the rates
customarily charged by attorneys and legal assistants who render professional services on behalf of
HARRIS LAW PRACTICE LLC.

You have deposited with my law firm’s trust account the sum of Four Thousand Dollars
($4,000.00) as partial payment of the advance retainer for said legal services and costs. This retainer
shall be held in my law firm trust account and applied towards payment of my law firm’s legal fees
and costs upon filing of the voluntary petition for Chapter 11 relief for GOLDEN STATE
BROADCASTING, LLC. Any surplus will be held in my client trust account until approval of interim
and/or final fee application by the Bankruptcy Court. In the interim period, HARRIS LAW
PRACTICE LLC will provide monthly invoices to GOLDEN STATE BROADCASTING, LLC,
which invoices shall be due and payable by GOLDEN STATE BROADCASTING, LLC within 30
days, although such payments shall also be deposited and held in our law firm trust account and only
disbursed after approval by the Bankruptcy Court of our interim and/or final fee and cost applications.
I estimate that the total legal fees and costs incurred by the firm in this bankruptcy reorganization case
to be $50,000.00 to $100,000.00, or more, depending on the complexity of the legal issues and the
problems encountered at the plan confirmation hearing, which legal fees and costs are to be billed to
GOLDEN STATE BROADCASTING, LLC,

Application for approval of fees and costs will need to be made to the Bankruptcy Court
periodically, and we will also need to disclose our fee agreement to the Bankruptcy Court by the filing
of a Disclosure Statement of Compensation under Federal Rule of Bankruptcy Procedure 2016(b).

While providing legal services on behalf of you, I am sure you realize that we must rely on
your representations and statements as to facts and circumstances within your knowledge and the
correctness of any and all documents delivered to the firm by you or your agents. Also, please know
that we will utilize our best efforts in representing you.

You, or HARRIS LAW PRACTICE LLC may, of course, terminate the employment of the law
firm at any time. Upon such termination, the firm will charge against and pay from the retainer its
unpaid fees and expenses and refund the remainder of the retainer, if any, to you. Additionally, we
reserve the right to withdraw from representation of a client where our fees and expenses are not paid
in the normal course. We generally do not prepare a periodic statement of account, only monthly
accounts. If you ever have any questions whatsoever regarding any aspect of your monthly bill, please
call.

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Golden State Broadcasting, LLC
Attention: Edward Stolz
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Our charges are not contingent upon the successful conclusion, but are charged without regard
to the outcome. Accordingly, we will look solely to you for payment, and our charges will not be
dependent or contingent upon payment by any other party.

Within fourteen (14) days following the filing of the petition, the Debtor is required to file with
the Court, a Statement of Financial Affairs and Schedule of Assets and Liabilities. (See discussion
below.) Also, it will be necessary to open new bank accounts reflecting that the maker of the checks
is a debtor-in-possession. Alternatively, it is permissible to keep your existing account(s) and stamp
all unused checks with a debtor-in-possession stamp, on condition that we provide the U.S. Trustee
with a bank statement that shows an ending balance as of the date of the filing of the bankruptcy
petition and a copy of the bank signature card indicating "Debtor-in-Possession." There should be a
bank employee in the new accounts department who is familiar with this type of arrangement and
should be able to help you.

In addition to the Schedules and Statements, there is a monthly operating report required to be
filed with the Bankruptcy Court which will generally reflect the receipts and disbursements of the
debtor-in-possession. It is my suggestion that the first monthly operating report be filed no later than
the 20th day of the month. I would also request, rather than waiting until the 20th day of each month,
that we make an attempt to submit the monthly operating reports no later than the 10th day of each
month. In connection with this monthly accounting information, let me reiterate that it is extremely
important that proper accounting controls and proper accounting records be maintained and prepared.
Lack of proper accounting for receipts received during the pendency of the bankruptcy would be a
prime reason for a creditor to request the appointment of a trustee and removal of the debtor-in-
possession. | am sure you can understand that this is not something with which we need to contend.

One of the items necessary to be filed with the Bankruptcy Court in the early days is a copy of
the insurance policy which covers the property(s) in question. Additionally, it is extremely important
during the pendency of the bankruptcy that all taxes be maintained current, i.e., payroll taxes and any
income taxes owed to the Internal Revenue Service. This includes any sales tax payments required by
the State of Nevada. It is not critical that the property taxes be maintained current, although to the
extent that they are not paid they become a priority lien against the property.

THE SCHEDULES

There are certain documents to be filed within fourteen (14) days of the filing of the
bankruptcy. These are generally known as "the schedules" and consist of the Schedule of Assets and
Liabilities and Statement of Financial Affairs. The Schedules must be filed with the Bankruptcy Court
fourteen (14) days after the petition is filed. Failure to file schedules by the deadline will result in the
case being dismissed by the Court without notice.

THE MONTHLY REPORT AND HIRING OF PROFESSIONALS

I have enclosed for you a copy of the monthly report form which is required by the Bankruptcy
Court. If you believe after inspection of the monthly report form that you will be able to generate it
yourself, please let me know. If you believe that it will be necessary to hire an accountant to take care
of this for you, please let me know so I can apply to the Court for authorization to hire such an
accountant. The application for authorization to hire and pay an accountant is similar to that needed
to retain an attorney. Please do not hire or pay an accountant for either pre- or post-petition work until
I obtain Court authorization. In addition, as we have discussed, do not pay any estate funds to this firm
or any other law firm after the bankruptcy filing without prior Court authorization, unless payments
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Attention: Edward Stolz
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are made to that professional's trust account and disbursed to the general account only after receiving
Court approval to make said transfer(s).

THE TWO ACCOUNTS

You will be required to open two (2) separate bank accounts, assuming you are engaged in a
business that has employees:

(a) a general account in which all cash receipts shall be deposited; withdrawals from
this account shall require the signature of an authorized officer; and

(b) the payroll account, into which funds will be transferred from the general account;
withdrawals from this account shall require the signature of an authorized officer.

It will be necessary to deposit into the payroll account all withholding, social security,
unemployment, excise, sales, use or other taxes collected or received, withheld, for or on behalf of the
United States, any State, or any political subdivision thereof.

Unfortunately, the requirement of two accounts is one which is seldom waived. Since it may
be necessary to have some flexibility, and since we may need a favor from the Court in the future, I
would rather not “go back to the well” too often on a matter which is not absolutely critical to the
administration of the estate. [If you are not engaged in a business that has employees, then maintaining
one (1) “debtor-in-possession” general bank account will be satisfactory with the Court.]

UTILITIES

Your utility companies, upon receiving notification of the Chapter 11 case, will “close out”
your accounts. If at all possible, the utilities should be current when the case is filed. The utility
companies are not able to shut off service to you for non-payment of pre-petition accounts. However,
they are able to demand a deposit for continuation of service to you if you are delinquent upon filing.

Pursuant to 11 U.S.C. §366(b), if you are not able to reach an agreement with the utilities within
twenty (20) days after the date of filing, they may attempt to shut off service unless you pay the
unreasonably high deposit which they may demand.

Pursuant to that same statute, however, we can petition the Court for a reduction in the size of
the deposit which will be demanded by the utility service. It has been my experience that I can
sometimes negotiate a reduced deposit or deposit terms which can be lived with.

ORDINARY COURSE OF BUSINESS TRANSACTIONS

 

A debtor-in-possession is no longer required to obtain authorization from the Court to continue
operating the business. It is presumed that the ordinary Chapter 11 case will involve a debtor-in-
possession who is operating a business which existed pre-petition. However, for any new, major or
serious business transactions, which are even arguably outside the ordinary course of business, it will
be necessary to obtain prior authorization of the Bankruptcy Court. If you have any questions as to
whether a particular transaction or change in the way you do business may be outside the ordinary
course of business, please give me a call and we will discuss the matter. If, for instance, an entity
should propose to buy the entire business, that matter would be subject to the approval of the
Bankruptcy Court after appropriate notice and hearing; obtaining or paying back loans would in many
cases also require Court approval.
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CASH COLLATERAL

Most deeds of trust have a provision for an assignment of rents. Rental income may, therefore,
be cash collateral. Do not use any such income without Court approval. You must, immediately upon
filing the Voluntary Petition, obtain the written consent of secured creditors, or alternatively,
authorization from the United States Bankruptcy Court, pursuant to 11 U.S.C. §363(c)(2), to use or
sell cash collateral interests in the accounts receivable, cash inventory, general intangibles and/or
equipment now owned by GOLDEN STATE BROADCASTING, LLC. Use of cash collateral,
whether it is income from accounts receivable or rental income, without Court approval MAY
RESULT IN PERSONAL LIABILITY OF THE RESPONSIBLE PARTY FOR THE DEBTOR-IN-
POSSESSION FOR THE FUNDS USED.

LEASEHOLD INTERESTS IN REAL PROPERTY

Most leasehold interests in real property terminate within one hundred twenty (120) days of
filing the petition unless we take affirmative action. Make sure we discuss any real property interests
of the estate long before the time has elapsed.

OTHER

Other matters we will need to discuss are those connected with the payment of unsecured pre-
petition debts (the general rule is, don't pay them). As to any unsecured pre-petition debts which you
believe may cause a problem, please call me and we will discuss them. Payments of those amounts
will normally require Court authorization. | will see if I can obtain such authorization. As to payment
of post-petition amounts, these amounts should be paid promptly and in the ordinary course of business.
Please contact me immediately if there is any question in your mind as to whether a particular payable
is partially pre- and partially post-petition, and if so, how it should be dealt with. Further, do not pay
any dividends/distributions to shareholders/members until all creditors’ claims are paid in full
according to a confirmed Plan of Reorganization.

You will need to comply with the normal paperwork and reporting requirements of State and
Federal taxing authorities. For instance, W-2 forms for all employees must be completed and
distributed in a timely fashion. The filing of a petition in bankruptcy does not obviate requirements of
this nature. Other issues involving taxes may need to be discussed after complete information
regarding your particular situation is gathered and analyzed, and more than likely, a tax accountant
professional will be hired to perform the necessary work in filing tax returns.

Another matter which we will discuss at greater length after I have reviewed the Statement of
Affairs, which you have filled out, is the issue of preferences. It is at least possible that certain of your
creditors who were paid within ninety (90) days of the bankruptcy petition may be forced to disgorge
those amounts back to the estate. However, this will require further discussion and analysis.

Another matter which will require discussion is the state of your insurance policies. It is
necessary to maintain insurance on the property of the estate, so that no diminution of estate property
may occur as a result of a fire or similar event. We will discuss this matter further. | will continue to
keep you informed of the progress of the case. We will need to stay in fairly close communication. I
hope this is a quickly concluded, successful reorganization.

TRUSTEE'S FEES

Since 1988, there has been a quarterly fee charged to Chapter 11 debtors, the purpose of which
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Golden State Broadcasting, LLC
Attention: Edward Stolz
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is to help defray the cost of operating the Bankruptcy Court system. The fee is based upon the quarterly
disbursements of the Debtor in the following categories:

 

 

 

 

 

 

 

 

TOTAL QUARTERLY THE FEE, PER QUARTER, Is:
DISBURSEMENTS

$0 to $62,624 $250

562.625 to $999,999 0.4% of quarterly disbursements
$1,000,000 to $31,249,937 0.8% of quarterly disbursements
$31,249,938 or more $250,000

 

The fee is payable on the last day of the calendar month following the calendar quarter for
which the fee is owed. The requirement for a Debtor-in-Possession to pay the quarterly fee terminates
upon the entry of an Order closing your Chapter 11 case or dismissing the case. Failure to pay the
quarterly Trustee's fee within a timely fashion may result in the U.S. Trustee filing a MOTION TO
DISMISS OR CONVERT TO CHAPTER 7 the Chapter 11 proceeding. It will be your responsibility
to comply with the quarterly reporting requirements imposed by the Office of the U.S. Trustee.

By signing below, you also acknowledge that you understand that it is possible for GOLDEN
STATE BROADCASTING, LLC to file its Chapter 11 case in Nevada because it is a related case to
Silver State Broadcasting LLC, which entity owns radio stations in Las Vegas, Nevada, and is filing
its own Chapter 11 case.

Lastly, please be advised that HARRIS LAW PRACTICE LLC represents the legal interests
of GOLDEN STATE BROADCASTING, LLC and the bankrupt estate in this Chapter 11 proceeding,
and not the legal interests of any individual members or other insiders of the Debtor.

If you find that the foregoing constitutes a correct and complete statement of the agreement
under which you have retained HARRIS LAW PRACTICE LLC, please indicate your agreement in
the space provided below. Feel free to contact me regarding any questions you might have. Thank
you.

   

Very truly you

CONTENTS OF THIS RETAINER LETTER
READ, ACCEPTED AND ACKNOWLEDGED
BY:

Dated this jem day of October, 2021.

ant,

EDWARD STOLZ, Manager Af
GOLDEN STATE BROADGZASTING, LLC,

a Nevada limited liability gompany

 

 
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EXHIBIT C

 
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HARRIS LAW PRACTICE LLC
ATTORNEY AND COUNSELOR AT LAW

STEPHEN R. HARRIS, ESQ.
6151 LAKESIDE DRIVE, SUITE 2100
RENO, NEVADA 89511
(775) 786-7600
steve@harrislawreno.com

October 13, 2021

Via Email - edward.stolz@comcast.net
Major Market Radio LLC

Attention: Edward Stolz, Manager
6767 West Tropicana Ave., Suite 229
Las Vegas, NV 89103

Re: Major Market Radio LLC, a Nevada limited liability company —
Chapter 11 reorganization proceeding

Dear Mr. Stolz:

You have requested that STEPHEN R. HARRIS, ESQ., of HARRIS LAW PRACTICE LLC,
represent MAJOR MARKET RADIO LLC, a Nevada limited liability company, in a Chapter 11
reorganization proceeding to be filed in the United States Bankruptcy Court for the District of Nevada
(Las Vegas, Nevada). Pursuant to your request, this letter is to set forth the nature of our compensation,
the scope of our legal representation, to describe to you our law firm's billing practices, and those
things which will need to be done in the Chapter 11 context.

Specifically, the legal services already rendered and to be rendered by this law firm are as
follows:

1. With respect to the voluntary petition which I will prepare and will be filing, a
certified copy should be recorded in the County of Clark, State of Nevada.
Additionally, | would suggest that we deliver a copy of the voluntary petition
to any title company which is currently scheduled to conduct any pending
foreclosure action(s), if any.

2. We must file an alphabetical list of creditors, which includes unsecured as well
as secured creditors. We will also file an alphabetical list of equity security
holders (shareholders).

3. From the list of creditors, we must file what is commonly referred to as a
mailing matrix or mailing list, which is a mailing label list of creditors who are
to receive notice of the bankruptcy petition filing and who will receive from the
Bankruptcy Court a notice of hearing of a first meeting of creditors held in
accordance with |] U.S.C. §341.

4. Finally, we will prepare and file an alphabetical list of the 20 largest unsecured
creditors, excluding insiders, which the Bankruptcy Court will use to solicit
participants for a committee of unsecured creditors. You will pay for attorneys’
fees and costs incurred by the duly appointed attorney for the Unsecured
Creditors’ Committee, after notice and a hearing on a request to be paid.

Additionally, we request that by executing the enclosed copy of this letter, you empower our
law firm to take all steps in your case deemed by us to be advisable, including any steps needed to
effect any compromise which may be in the best interests of the estate and to institute such legal
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Major Market Radio LLC
Attention: Edward Stolz
October 13, 2021

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proceedings as may be in your best interests.

In consideration of our rendering these legal services, MAJOR MARKET RADIO LLC, shall
tender to this firm an advance retainer of Twenty Thousand Dollars ($20,000.00), payable $4,000.00
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and between STEVEN R. HARRIS, ESQ. and EDWARD STOLTZ personally. For your information,
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upon filing of the voluntary petition for Chapter 11 relief for MAJOR MARKET RADIO LLC. Any
surplus will be held in my client trust account until approval of interim and/or final fee application by
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complexity of the legal issues and the problems encountered at the plan confirmation hearing, which
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Application for approval of fees and costs will need to be made to the Bankruptcy Court
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Attention: Edward Stolz
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Within fourteen (14) days following the filing of the petition, the Debtor is required to file with
the Court, a Statement of Financial Affairs and Schedule of Assets and Liabilities. (See discussion
below.) Also, it will be necessary to open new bank accounts reflecting that the maker of the checks
is a debtor-in-possession. Alternatively, it is permissible to keep your existing account(s) and stamp
all unused checks with a debtor-in-possession stamp, on condition that we provide the U.S. Trustee
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THE TWO ACCOUNTS
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believe may cause a problem, please call me and we will discuss them. Payments of those amounts
will normally require Court authorization. | will see if can obtain such authorization. As to payment
of post-petition amounts, these amounts should be paid promptly and in the ordinary course of business.
Please contact me immediately tf there is any question in your mind as to whether a particular payable
is partially pre- and partially post-petition, and if so, how it should be dealt with. Further, do not pay
any dividends/distributions to shareholders/members until all creditors’ claims are paid in full
according to a confirmed Plan of Reorganization.

You will need to comply with the normal paperwork and reporting requirements of State and
Federal taxing authorities. For instance, W-2 forms for all employees must be completed and
distributed in a timely fashion. The filing of a petition in bankruptcy does not obviate requirements of
this nature. Other issues involving taxes may need to be discussed after complete information
regarding your particular situation is gathered and analyzed, and more than likely, a tax accountant
professional will be hired to perform the necessary work in filing tax returns.

Another matter which we will discuss at greater length after I have reviewed the Statement of
Affairs, which you have filled out, is the issue of preferences. It is at least possible that certain of your
creditors who were paid within ninety (90) days of the bankruptcy petition may be forced to disgorge
those amounts back to the estate. However, this will require further discussion and analysis.

Another matter which will require discussion is the state of your insurance policies. It is
necessary to maintain insurance on the property of the estate, so that no diminution of estate property
may occur as a result of a fire or similar event. We will discuss this matter further. I will continue to
keep you informed of the progress of the case. We will need to stay in fairly close communication. I
hope this is a quickly concluded, successful reorganization.

TRUSTEE'S FEES

Since 1988, there has been a quarterly fee charged to Chapter 11 debtors, the purpose of which
is to help defray the cost of operating the Bankruptcy Court system. The fee is based upon the quarterly
disbursements of the Debtor in the following categories:
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Major Market Radio LLC
Attention: Edward Stolz
October 13, 2021

 

 

 

 

 

 

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TOTAL QUARTERLY THE FEE, PER QUARTER, Is:
DISBURSEMENTS
$0 to $62,624 $250
$62,625 to $999,999 0.4% of quarterly disbursements
$1,000,000 to $3 1.249,937 0.8% of quarterly disbursements
$31,249,938 or more $250,000

 

 

 

The fee is payable on the last day of the calendar month following the calendar quarter for
which the fee is owed. The requirement for a Debtor-in-Possession to pay the quarterly fee terminates
upon the entry of an Order closing your Chapter 11 case or dismissing the case. Failure to pay the
quarterly Trustee's fee within a timely fashion may result in the U.S. Trustee filing a MOTION TO
DISMISS OR CONVERT TO CHAPTER 7 the Chapter || proceeding. It will be your responsibility
to comply with the quarterly reporting requirements imposed by the Office of the U.S. Trustee.

By signing below, you also acknowledge that you understand that it is possible for MAJOR
MARKET RADIO LLC to file its Chapter 11 case in Nevada because it is a related case to Silver State
Broadcasting LLC, which entity owns radio stations in Las Vegas, Nevada, and is filing its own
Chapter 11 case.

Lastly, please be advised that HARRIS LAW PRACTICE LLC represents the legal interests
of MAJOR MARKET RADIO LLC and the bankrupt estate in this Chapter 11 proceeding, and not the
legal interests of any individual members or other insiders of the Debtor.

If you find that the foregoing constitutes a correct and complete statement of the agreement
under which you have retained HARRIS LAW PRACTICE LLC, please indicate your agreement in
the space provided below. Feel free to contact me regarding any questions you might have. Thank
you.

 

STEPHEN R. HARRISYESQ.

CONTENTS OF THIS RETAINER LETTER
READ, ACCEPTED AND ACKNOWLEDGED
BY:

Dated this {ay day of October, 2021.

 

EDWARD STOLZ, Mandect
MAJOR MARKET RADIO LLf,
a Nevada limited liability company

 

 
